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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA


YOUNG AMERICAN’S FOR FREEDOM, et al.,

               Plaintiffs,

       v.                                                          Case No. 3:24-cv-00163-ARS

U.S. DEPARTMENT OF EDUCATION, et al.

            Defendants.
______________________________________________________________________________

            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
______________________________________________________________________________

       Pursuant to Fed. R. Civ. P. 65 and 5 U.S.C. § 705, and as set forth in the brief in support

of this motion, Plaintiffs hereby move for a preliminary injunction prohibiting Defendants from

enforcing or otherwise implementing the racial and ethnic classifications in 20 U.S.C. §1070a–

15(d) and 34 C.F.R. §§ 647.3 and 647.7. Plaintiffs also move that Defendants be required to notify

all participating institutions of higher education that they cannot impose or otherwise rely upon

such classifications.

       Dated this 4th day of September, 2024.


                                             Respectfully submitted,

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